Case 20-10343-LSS   Doc 5988-1   Filed 08/12/21   Page 1 of 4




                       EXHIBIT 1

                     Proposed Order
                 Case 20-10343-LSS              Doc 5988-1          Filed 08/12/21         Page 2 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                    Debtors.
                                                                    Re: D.I. 5897, 5898, 5905, & 5906, & _____



           ORDER GRANTING HARTFORD’S MOTION FOR ENTRY OF AN
       ORDER AUTHORIZING HARTFORD TO FILE UNDER SEAL (I) PORTIONS
          OF HARTFORD’S INITIAL OBJECTION TO THE MOTION OF THE
     COALITION OF ABUSED SCOUTS FOR JUSTICE, THE OFFICIAL COMMITTEE
        OF TORT CLAIMANTS, AND THE FUTURE CLAIMS REPRESENTATIVE
         TO STRIKE TESTIMONY REGARDING THE REASONABLENESS OF
            THE HARTFORD SETTLEMENT, AND (II) EXHIBIT B TO THE
              DECLARATION OF ERIN R. FAY IN SUPPORT OF SAME

             Upon the motion (the “Motion”)2 of Hartford Accident and Indemnity Company, First State

Insurance Company, Twin City Fire Insurance Company, and Navigators Specialty Insurance

Company (collectively, “Hartford”) for entry of an order (this “Order”) (1) authorizing Hartford

to file under seal certain limited portions of Hartford’s Initial Objection to the Motion of the

Coalition of Abused Scouts for Justice, the Official Committee of Tort Claimants, and the Future

Claims Representative to Strike Testimony Regarding the Reasonableness of the Hartford

Settlement [D.I. 5905] (the “Objection”); (2) authorizing Hartford to file under seal Exhibit B to

the Declaration of Erin R. Fay in Support of Hartford’s Initial Objection to the Motion of the

Coalition of Abused Scouts for Justice, the Official Committee of Tort Claimants, and the Future


1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Lane, Irving, Texas 75038.

2
      Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.
            Case 20-10343-LSS          Doc 5988-1      Filed 08/12/21     Page 3 of 4




Claims Representative to Strike Testimony Regarding the Reasonableness of the Hartford

Settlement [D.I. 5905] (the “Objection”) [D.I. 5906] (the “Fay Decl.”) filed in support of the

Objection (together with limited portions of the Objection, the “Confidential Information”);

(3) directing that the Confidential Information shall remain under seal and confidential pursuant

to the terms of Protective Order entered in these cases and not be made available to anyone, except

to the Court and the Office of the United States Trustee for the District of Delaware (the “U.S.

Trustee”); and (4) granting related relief; all as more fully set forth in the Motion; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and that this Court may enter a final order consistent with Article III of

the United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the Hartford’s notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion; and this Court having determined that the legal and factual bases set forth in

the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Hartford is authorized to file the Confidential Information under seal, subject to

further order of the Court, pursuant to sections 105(a) and 107(b) of the Bankruptcy Code,

Bankruptcy Rule 9018, and Local Rule 9018-1.




                                                  2
             Case 20-10343-LSS         Doc 5988-1       Filed 08/12/21      Page 4 of 4




       3.      Except upon further order of the Court, the Confidential Information shall remain

under seal, and shall not be made available to anyone, except that copies of the Confidential

Information shall be provided to the Court and the U.S. Trustee on a confidential basis. Such

parties shall be bound by this Order and shall at all times keep the Confidential Information strictly

confidential and shall not disclose the Confidential Information to any party whatsoever.

       4.      Hartford and any party authorized to receive the Confidential Information pursuant

to this Order shall, subject to Local Rule 9018-1(c) and without further order of the Court, redact

specific references to the Confidential Information from any and all pleadings filed on the public

docket maintained in these chapter 11 cases.

       5.      This Order is without prejudice to the rights of any party in interest to seek to unseal

and make public any portion of the material filed under seal.

       6.      Hartford is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Motion.

       7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                  3
